                                         FIFTEENTH REGULAR COMMON
                                          COUNCIL MEETING AGENDA
                                             November 07, 2022 at 6:00 PM
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                                  City Hall, 3rd Floor - Council Chambers, 828 Center Avenue,
                                                          Sheboygan, WI


"It's the little details that are vital. Little things make big things happen" - John Wooden

      This meeting may be viewed LIVE on Charter Spectrum Channel 990, AT&T U-Verse Channel 99 and:
                                      www.wscsshebovgan.com/vod.

Notice of the 15th Regu lar Meeting of the 2022-2023 Common Council at 6:00 PM, MONDAY, November 7, 2022 in
City Hall, 3rd Floor - Council Chambers, 828 Center Avenue, Sheboygan, WI. Persons with disabilities who need
accommodatio ns to attend the meeting should contact Meredith DeBruin at the City Clerk's Office, 828 Center
Avenue, {920) 459-3361.

Members of the public who wish to participate in public forum remotely shall provide notice to the City Clerk at
{920) 459-3361 at least 24 hours before the meeting so t hat the person may be provided a remote link for that
purpose.

OPENING OF MEETING

     1.   Roll Call
          Alderpersons Ackley, Dekker, Felde, Filicky-Peneski, Heidemann, Mitchell, Perrella, Ramey, Rust, and
          Salazar may attend the meeting remotely.

    2.    Pledge of Allegiance

    3.    Approval of Minutes
          Fourteenth Regular Council Meeting held on October 17, 2022 and Second Special Council Meeting held
          on October 24, 2022

    4.    Mayoral Appointments
          Jennifer Born Rutten, Jeanne Kliejunas, Chris Kuehnel, and William Campos to the Sustainability Task
          Force

    5.    Resignation
          Dave Sachse from the Redevelopment Authority

    6.    Public Forum
          Limit offive people having five minutes each with comments limited to items on this agenda.

    7.    Mayor's Announcements
          Upcoming Community Events, Proclamations, Employee Recognitions

CONSENT

    8.    Motion to Receive and File all R.O.'s, Receive all R.C.'s and Adopt all Resolutions and Ordinances


                                                                                               EXHIBIT
                                                                                                                 exhibitsticker.com




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   9.   R. 0 . No. 78-22-23 by Board of Water Commissioners submitting a copy of the 2023 Water Utility Budget
        for the Sheboygan Water Utility.

    10. R. 0 . No. 77-22-23 by Board of Water Commissioners submitting the Board of Water Commissioners'
        Report on the Water Utility for the third quarter of 2022.

    11. R. 0 . No. 79-22-23 by City Clerk submitting the Tax Levy Certification for the 2022-2023 School Year
        from the Kohler School District.

    12. R. 0 . No. 75-22-23 by City Clerk submitting the tax levy report that supports the 2022-23 budget for the
        Lakeshore Technical College District and a copy ofthe district-wide apportionment of the tax levy based
        upon the 2022 fully certified values furnished by the Wisconsin Department of Revenue.

    13. R. C. No. 118-22-23 by Public Works Committee to whom was referred R. 0. No. 74-22-23 by City Clerk
        submitting a request from Zach Cotter for approval to hunt deer on a section of woods within the city
        limits; recommends filing the document.

REPORT OF OFFICERS

    14. R. 0. No. 76-22-23 by City Clerk submitting a Summons and Complaint in the matter of Midstate
        Amusement Games, LLC vs. City of Sheboygan . REFER TO FINANCE AND PERSONNEL COMMITIEE

RESOLUTIONS

    15. Res. No. 85-22-23 by Alderpersons Mitchell and Filicky-Peneski authorizing submitting a Substantial
        Amendment to the U.S. Department of Housing and Urban Development (HUD) Community
        Development Block Grant (CDBG) program for the 2019-2020 Program Year related to CDBG-CV3 funds.
        REFER TO FINANCE AND PERSONNEL COMMITIEE

    16. Res. No. 84-22-23 by Alderpersons Felde and Ackley authorizing the Chief of Police to take necessary
        actions to receive the 2023 Wisconsin Justice System Improvement, Beat Patrol Grant. REFER TO
        LICENSING, HEARINGS, AND PUBLIC SAFETY COMMITIEE

    17. Res. No. 83-22-23 by Alderpersons Felde and Ackley authorizing the appropriate City officials to execute
        the Joint Powers Agreement for Sheboygan County and City of Sheboygan 911 Emergency Systems.
        REFER TO LICENSING, HEARINGS, AND PUBLIC SAFETY COMMITIEE

    18. Res. No. 86-22-23 by Alderpersons Dekker and Rust authorizing the Purchasing Agent to issue a
        purchase order for the emergency purchase replacement of a bucket truck for the Motor Vehicle
        Division of the Department of Public Works, and authorizing the necessary budget adjustments to
        provide funding for the purchase. REFER TO PUBLIC WORKS COMMITIEE

    19. Res. No. 87-22-23 by Alderpersons Dekker and Rust authorizing the appropriate City officials to enter
        into an Addendum No. 1 to the contract with Foth Infrastructure & Environment, LLC for design services
        related to the South Side Sewer {SIS) Facility Plan . REFER TO PUBLIC WORKS COMMITIEE

   20. Res. No. 88-22-23 by Alderpersons Felde and Ackley authorizing the Fire Chief to accept and expend
        funds received from the State of Wisconsin Department of Health Services as part of the Emergency
        Medical Services ("EMS") Flex Grant. REFER TO LICENSING, HEARINGS, AND PUBLIC SAFETY COMMITIEE

GENERAL ORDINANCES

   21. Gen. Ord . No. 12-22-23 by Alderpersons Dekker and Rust repealing Gen . Ord . No. 42-21-22 so as to
        remove the two-way street designation for South 24th Street between Indiana Avenue and Georgia
        Avenue and add parking on the west side of South 24th Street between Indiana Avenue and Georgia
        Avenue. REFER TO PUBLIC WORKS COMMITIEE

   22. Gen. Ord . No. 13-22-23 by Alderpersons Dekker and Rust amending Sections 122-403, 122-404, and 122-
       405 ofthe Municipal Code relating to sewers and sewerage disposal so as to make changes to service
       charges. REFER TO PUBLIC WORKS COMMITIEE

MATIERS LAID OVER

   23. R. C. No. 117-22-23 by Committee of the Whole to whom was referred Res. No. 79-22-23 by
       Alderpersons Felde and Filicky-Peneski establishing the 2023 Budget appropriations and the 2022 Tax
       Levy for use during the calendar year; recommends adopting the Resolution.

OTHER MATIERS AUTHORIZED BY LAW

CLOSED SESSION

   24. MOTION TO CONVENE IN CLOSED SESSION pursuant to Wis. Stat. § 19.85(1)(e) for deliberating or
       negotiating the investing of public funds or conducting other specified public business whenever
       competitive or bargaining reasons require a closed session; to wit: discussions regarding possible
       development incentives for affordable housing projects currently known as the former Koepsell
       property redevelopment and the S. 14th and Illinois Avenue projects; AND under the exemption
       provided in Wis. Stat. § 19.85(1)(f) for preliminary consideration of specific personnel problems which, if
       discussed in public, would be likely to have a substantial adverse effect upon the reputation of the
       person involved in such problems or investigations.

RECONVENE IN OPEN SESSION

   25. Reconvene in open session to act upon potential matters arising from closed session discussions.

ADJOURN MEETING

   26. Motion to Adjourn

 In compliance with Wisconsin's Open Meetings Law, this agenda was posted in the following locations more
                               than 24 hours prior to the time of the meeting:

                                     City Hall • Mead Public Library
                         Sheboygan County Administration Building • City's website
